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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                 District District
                                             __________   of Massachusetts
                                                                   of __________


            Students for Fair Admissions, Inc.                 )
                             Plaintiff                         )
                                v.                             )      Case No.     1:14-cv-14176-ADB
    President and Fellows of Harvard College, et al.           )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Defendant, President and Fellows of Harvard College                                                           .


Date:          10/11/2018                                                               /s/ Joseph J. Mueller
                                                                                         Attorney’s signature


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                               CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the CM/ECF system on October 11,

2018 will be sent electronically to all counsel of record via the CM/ECF system.


                                                     /s/ Joseph J. Mueller
                                                         Joseph J. Mueller
